     Case 1:18-cv-11642-VM-DCF Document 172-2 Filed 10/14/20 Page 1 of 2

                         CHO LEGAL GROUP LLC
                               100 Plainfield Avenue - 2nd flr., Ste 8E
                                         Edison, NJ 08817
                                       ph. (732) 545 – 9600
                                        fax. (609) 613-5611
                                   SERVING NEW JERSEY AND NEW YORK



September 4, 2020

Mr. Mark Russell
4th Floor Harbour Centre
42 North Church Street
George Town
PO Box 2255
KY1-1107 Cayman Islands


       Re:     Subscription Agreement with Link Motion
               Your Ref: 1649/20


Dear Sirs,

We are New York counsel for China AI Capital Limited (China AI) and write in that capacity. We
write in response to your letter of 25 August 2020, concerning that certain subscription agreement
dated 19 July 2018 (as amended, the Subscription Agreement) between China AI and Link Motion
Inc. (Link Motion). We note that you write on behalf of Robert W. Seiden (the Receiver), temporary
receiver of Link Motion. Unless stated otherwise, all capitalized terms in this letter shall have the
meanings assigned to them in the Subscription Agreement.

In your letter, you note that the Closing did not occur within the time provided in Subscription
Agreement, as amended. As you may be aware, the Closing did not occur because Link Motion was
unable to satisfy the conditions to Closing set forth in Section 2(d)(ii) and (iii) and (v) and (viii) of
the Subscription Agreement on or before 19 November 2018. Following Link Motion’s failure to
satisfy the foregoing conditions to Closing on or before 19 November 2018, China AI entered into
discussions with Link Motion regarding a second amendment to the Subscription Agreement to
further extend the Closing Date to a date mutually agreeable to both parties, and stayed China AI’s
obligations. Significantly, the parties did not agree to amend any other terms of the Subscription
Agreement.

In your letter, you now propose that China AI agree to make the Closing Payment of $10,000,000
within 14 days of your letter and consent to waive the closing conditions set forth in Section 2(d)(ii)
and (vi) and (viii) of the Subscription Agreement. In attempting to comprehend the Receiver’s
demands, it appears that, while not denominated as such, the Receiver is proposing a second
amendment to the Subscription Agreement on the terms set forth in your letter.

Initially, please note that although China AI is willing to consider good faith proposals regarding a
second amendment to the terms of the Subscription Agreement, there appears to be several aspects
of your proposal that conflict with the other terms of the Subscription Agreement.
     Case 1:18-cv-11642-VM-DCF Document 172-2 Filed 10/14/20 Page 2 of 2

                                                                               CHO LEGAL GROUP LLC



First, it appears that Link Motion is currently unable to make truthful representations and warranties
as to the matters set forth in Section 3(h) and (o) of the Subscription Agreement. China AI hereby
requests that Link Motion provide all records relating to the reports and other records that are the
subject of the representation and warranty in Section 3(o). Specifically, China AI requests current
financial statements and a business plan. China AI will use these records for the purpose of
negotiating mutually agreeable terms of a further amendment to the Subscription Agreement.

Second, it appears that the Receiver does not have sufficient authority to perform, in good faith, all
of Link Motion’s obligations that would be triggered by the Closing Payment.. In Section 5(a) of
the Subscription Agreement, Link Motion made covenants regarding the appointment to the
Board of directors nominated by China AI. As stated in paragraph 2 of the Order of the Grand
Court of the Cayman Islands, Financial Services Division, dated 4 February 2020, the Receiver
does not have the power to appoint or replace any director of Link Motion. Accordingly, the
Receiver currently lacks power to exercise Link Motion’s rights under Section 2(b) without
breaching Link Motion’s obligations under Section 5(b) of the Subscription Agreement. China AI
reserves all rights with respect to any breach that may occur as a result of action by the Receiver
pursuant to Section 2(b) of the Subscription Agreement.

Notwithstanding the foregoing, China AI stands ready and willing to make the Closing Payment of
$10,000,000 upon mutually agreeable terms and, therefore, proposes that the Receiver reconsider
unilaterally imposing a deadline upon the Closing so that all parties may enter into settlement
negotiations.


                                              Very truly yours,

                                              /s/ Jae H. Cho
                                              Jae H. Cho




                                              Page 2 of 2
